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Fill in this information to identify the case:

United States Bankruptcy Court for the District of Colorado,
Denver Division
                                                                             Case #: 22-11796
Debtor 1       Newman, Aaron R.                                              MER

Debtor 2                                                                     Chapter: 13




Local Bankruptcy Form 3015-1.1
AMENDED CHAPTER 13 PLAN
Including Valuation of Collateral and Classification of Claims

Complete applicable sections. This chapter 13 plan dated August 14, 2022 supersedes all previously filed plans.

Part 1    Notices

1.1. To Creditors: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file a written
     objection with the Court by the deadline fixed by the court. (Applicable deadlines given by separate notice.) If you do not file a
     timely objection, you will be deemed to have accepted the terms of the plan, which may be confirmed without further notice or
     hearing. Creditors must file timely proofs of claim in order to receive the applicable payments.

1.2. Nonstandard Provisions
     [X] This plan contains nonstandard provisions set out in Part 12 of the plan.

1.3. Motions for Valuation of Collateral and Determination of Secured Status under 11 U.S.C. § 506
     [X] This plan contains a motion for valuation of personal property collateral and determination of secured status under 11 U.S.C.
         § 506. Additional details are provided in Part 7.4 of this plan.
     [ ] The debtor is requesting a valuation of real property collateral and determination of secured status under 11 U.S.C. § 506 by
         separate motion. Additional details are provided in Parts 7.3 and/or Part 7.4 of this plan. Status of motion:

1.4. Motions for Lien Avoidance 11 U.S.C. § 522(f)
     [ ] The debtor is requesting avoidance of a judicial lien or nonpossessory, non-purchase-money security interest under 11
     U.S.C. § 522(f) by separate motion. Additional details are provided in Part 10.4 of this plan. Status of motion:


Part 2    Background Information

2.1      Prior bankruptcies pending within one year of the petition date for this case:
         Case number and chapter              Discharge or dismissal / conversion       Date
         None

2.2       Discharge: The debtor:
          [X] is eligible for a discharge

2.3       Domicile & Exemptions:

          Prior states of domicile:

               within 730 days N/A
               within 910 days N/A

          The debtor is claiming exemptions available in the [X] state of Colorado

2.4       Domestic Support: The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C. §
          101(14A). Notice shall be provided to these parties in interest:

          A. Spouse/Parent:
               N/A
               [identify]
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           B. Government:
              N/A
              [identify]
           C. Assignee or Other:
              N/A
              [identify]
           D. The debtor [ ] has provided the trustee with the address and phone number of the Domestic Support Obligation
              recipient, or [X] cannot provide the address or phone number because it/they is/are not available.

2.5        Median Income: The current monthly income of the debtor, as reported on Official form 122C-1 or 122C-2, as applicable, is
           [X] below, [ ] equal to, or [ ] above the applicable median income

Part 3     Plan Analysis

3.1        Total Debt Provided for under the Plan and Administrative Expenses

         A.     Total Priority Claims (Class One)
                1. Unpaid attorney’   s fees                                                                        $ 4,500
                    (Total attorney’s fees are estimated to be $ 5,500 of which $ 1,000 has been prepaid)

                2.   Unpaid attorney’  s costs (estimated)                                                          $ 156
                3.   Total taxes
                     (Federal $ 14,000; State $ 1,996                                                               $ 15,996
                4.   Other priority claims                                                                          $0

         B.     Total payments to cure defaults (Class Two)                                                         $0
         C.     Total payments on secured claims (Class Three)                                                      $ 46,200
         D.     Total payments on unsecured claims (Class Four)                                                     $0
         E.     Sub-Total                                                                                           $ 66,852
         F.     Total trustee’
                             s compensation (10%) of debtor’s payments)                                             $ 7,428
         G.     Total debt and administrative expenses                                                              $ 74,280

3.2        Reconciliation with Chapter 7
           A. The net property values set forth below are liquidation values rather than replacement values. The replacement values
              may appear in Class Three of the plan.
           B. Assets available to Class Four unsecured creditors if Chapter 7 filed:
                  1. Value of debtor’  s interest in non-exempt property                                             $ 4,550

                                                                                                   X
                                                                 Less costs                   Debtor’s      Less
Property                                            Value        of sale       Less Liens     Interest      Exemptions        = Net Value




Accounts Receivable                                 1,500        0             0              100%          0                 1,500

                     2. Plus: value of property recoverable under avoiding powers:                                  $0
                     3. Less: estimated Chapter 7 administrative expenses:                                          $ 1,137
                     4. Less: amounts payable to priority creditors:                                                $ 12,000
                     5. Equals: estimated amount payable to Class Four creditors if Chapter 7 filed (if negative,   $0
                     enter zero)

         C. Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan plus any funds
            recovered from “
                           other property”described in Part 4.1.D below.                                 $0

Part 4     Properties and Future Earnings Subject to the Supervision and Control of the Trustee

4.1        Future Earnings: The debtor submits to the supervision and control of the trustee all or such portion of the debtor's future
           earnings or other future income as is necessary for the execution of the Plan, including:
           A. Future earnings which shall be paid to the trustee for a period of approximately 48 months, beginning June 19, 2022 as
           follows:


           B.


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             Number of Payments                          Amount of Payments                          Total
             2                                           525.62                                      1,051.24
             46                                          1,591.92                                    73,228.76


           C. Amounts for the payment of Class Five post-petition claims included in above: $ 0
           D. Other property:


4.2        Payments: The debtor agrees to make payments under the Plan as follows:
           [X] Direct Payment from debtor to trustee


Part 5     Class One - Claims Entitled to Priority Under 11 U.S.C. § 507

Unless other provision is made in paragraph 10.3, each creditor in Class One shall be paid in full in deferred cash payments
prior to the commencement of distributions to any other class (except that the payments to the trustee shall be made by
deduction from each payment made by the debtor to the trustee) as follows:

5.1        Allowed administrative expenses:
           A. Trustee's compensation (10% of amounts paid by debtor under this Plan)                                $ 7,428
           B. Attorney's Fees (estimated and subject to allowance)                                                  $ 4,500
           C. Attorney's Costs (estimated and subject to allowance)                                                 $ 150

5.2        Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 [if none, indicate]:
           A. Domestic Support Obligations: A proof of claim must be timely filed in order for the trustee to distribute amounts
              provided by the plan.
              1. Priority support arrearage: The debtor owes past due support to
                   [name] in the total amount of $                      [amount] that will be paid as follows:
                   [ ] Distributed by the trustee pursuant to the terms of the Plan; or
                   [ ] The debtor is making monthly payments via a wage order [ ] or directly [ ] (reflected on Schedule I or J) in the
                   amount of $                       [amount] to                                               . Of that monthly
                   amount,                       [amount] is for current support payments and $                      [amount] is to pay
                   the arrearage.
              2. Other: For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with the Court
                   and submit to the trustee an update of the required information regarding Domestic Support Obligations and the
                   status of required payments.
           B. Taxes
                  1. Federal taxes                                                                               $ 14,000
                  2. State taxes                                                                                 $ 1,996


Part 6     Class Two –Defaults

6.1        Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Two, debtor must specifically serve
           such creditor in the manner specified in Fed. R. Bankr. P. 9014 and 7004.
6.2        Class Two A [if none, indicate]: Claims set forth below are secured only by an interest in real property that is the debtor's
           principal residence located at 2020 Shasta Phoenix 5th wheel. Defaults shall be cured and regular payments shall be
           made:

[X] None

                                                                                                          Regular
                                                                                                          monthly
                                                          Total                    Total                  payment to
                                                          default                  amount to    No. of    be made          Date of
                                                          amount to     Interest   cure         months to directly to      first
Creditor                                                  be cured1     rate       arrearage    cure      creditor         payment


6.3        Class Two B [if none, indicate]: Pursuant to 11 U.S.C. § 1322(b)(5), secured (other than claims secured only by an
           interest in real property that is the debtor's principal residence) or unsecured claims set forth below on which the last
           payment is due after the date on which the final payment under the Plan is due. Defaults shall be cured and regular


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          payments shall be made:

[X] None

OR


                                                                                                              Regular
                                                                                                              monthly
                                                        Total              Total                              payment to
                                                        default            amount to No. of                   be made         Date of
                                                        amount to Interest cure      months                   directly to     first
Creditor                      Description of collateral be Cured2 rate     arrearage to cure                  creditor        payment




6.4    Class Two C [if none, indicate]: Executory contracts and unexpired leases are rejected, except the following, which are
assumed:

[X] None

OR

                                                                                                        Regular
                                                                                                        monthly
                                                                                                        payment to
                                                                                    Total        No. of be made               Date of
                                          Property, if any, subject to the          amount to months to directly to           first
Other party to lease or contract          contract or lease                         cure, if any cure   creditor              payment


          A.   In the event that debtor rejects the lease or contract, creditor shall file a proof of claim or amended proof of claim
               reflecting the rejection of the lease or contract within 30 days of the entry of the order confirming this plan, failing which
               the claim may be barred.

Part 7     Class Three –All Other Allowed Secured Claims

Claims shall be divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:

7.1       Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Three, debtor must specifically serve
          such creditor in the manner specified in Fed. R. Bankr. P. 9014 and 7004.

7.2       Adequate Protection: If adequate protection payments are indicated, such payments will be made by the trustee to the
          creditors indicated above until such time that superior class creditors are paid in full. Any adequate protection payments
          made will be subtracted from the total amount payable. Unless otherwise provided, adequate protection payments will
          accrue from the date of filing but will not be made until the creditor has filed a timely proof of claim.

7.3       Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with Fed. R. Bankr. P. 3012 and 7004 and
          L.B.R. 3012-1, the debtor has filed and served a separate motion for valuation of collateral and determination of secured
          status under 11 U.S.C. § 506 as to the real property and claims listed in Part 1.3 of this plan and below. The plan is subject
          to the court’
                      s order on the debtor’ s motion. If the court grants the debtor ’
                                                                                      s motion, the creditor will have an unsecured claim
          in the amount of the debt as stated in any timely filed, allowed proof of claim, including such claims filed within thirty days
          from entry of an order determining secured status under Fed. R. Bankr. P. 3002(c)(1) and (3). The creditors listed in Part 1.3
          and below shall retain the liens securing their claims until discharge under 11 U.S.C. § 1328, or, if the debtor is not eligible
          for a discharge, upon the debtor’ s successful completion of all plan payments and the closing of the case.

[X] None

OR




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                                                                                                                 Proof of
                                                                                                                 claim
                                                             Description of collateral                           amount, if
           Name of creditor                                  (pursuant to L.B.R. 3012-1)                         any

7.4        Secured claims subject to 11 U.S.C. § 506 [if none, indicate]: The debtor moves the court, through this chapter 13 plan,
           for a valuation of collateral and determination of secured status under 11 U.S.C. § 506 regarding the property and claims
           below. The creditors shall retain the liens securing their claims until discharge under 11 U.S.C. § 1328 or payment in full
           under nonbankruptcy law.


           A.
            The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the allowed claim
            shall be treated as a general unsecured claim.
                                                                    Confirmati Amount of                   Adequate        Total
                                                                    on value of debt as            Intere protection       amount
Creditor                          Description of collateral         collateral       scheduled st rate payment             payable
Capital One Auto Finance          2017 Dodge Ram 2500 Crew
(claim 9)                         Cab SLT                           22,000           32,939.49     5%      329             23,100
Capital One Auto Finance          2016 Jeep Grand Cherokee
(claim 6)                         Utility                           22,000           30,533.63     5%      305             23,100

           B.  The following creditors shall be paid the remaining balance payable on the debt over the period required to pay the sum
               in full.
                                                                         Confirm
                                                                         ation
                                                                         value of Amount of              Adequate       Total
                                                                         collater debt as       Interes protection      amount
      Creditor                           Description of collateral       al       scheduled t rate       payment        payable




7.5        Secured claims to which 11 U.S.C. § 506 shall not apply (personal property) [if none, indicate]: The following creditors
           shall retain the liens securing their claims, and they shall be paid the amount specified which represents the remaining
           balance payable on the debt over the period required to pay the sum in full:

[X] None

OR

                                                                                                              Adequate
                                                                                           Amount of          protection Total
                                                                                           debt as   Interest payment    amount
Creditor                                     Description of collateral                     scheduled rate                payable

7.6        Property being surrendered [if none, indicate]: The debtor surrenders the following property securing an allowed secured
           claim to the holder of such claim:

[X] None

OR

                                                                                                          Anticipated date of
Creditor                                             Property                                             surrender

7.7        Relief from Stay: Relief from the automatic stay and co-debtor stay to permit enforcement of the liens encumbering
           surrendered property shall be deemed granted by the Court at the time of confirmation of this Plan pursuant to 11 U.S.C. §§
           362(a) and 1301(a) and Fed. R. Bankr. P. 3015-1(d). With respect to property surrendered, no distribution on the creditor ’
                                                                                                                                     s



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           claim shall be made unless that creditor files a proof of claim or an amended proof of claim to take into account the
           surrender of the property.

Part 8     Class Four –Allowed Unsecured Claims Not Otherwise Referred To in the Plan

8.1        Payment of Class Four Claims: Class Four Claims are provided for in an amount not less than the greater of:
           A. The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4) as set forth in Part 3.2;
           or
           B. Total disposable income for the applicable commitment period defined by 11 U.S.C. § 1325(b)(1)-(4).

8.2        Disposable Income: The monthly disposable income of $ 69 [amount] has been calculated on Form 122C-1 or 122C-2, as
           applicable. Total disposable income is $ 2,484 [amount], which is the product of monthly disposable income of $ 69
           [amount] times the applicable commitment period of 36 months [time period].

8.3        Classification of Claims:
           A. [X] Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after payment by the
           trustee of all prior classes;

8.4        Non-Dischargeable Claims: A timely filed claim, found by the Court to be non-dischargeable pursuant to 11 U.S.C. §
           523(a)(2), (4), or (6), will share pro-rata in the distribution to Class Four. Collection of the balance is stayed until the case is
           dismissed, converted to a Chapter 7 or discharge enters, unless ordered otherwise.

Part 9     Class Five –Post-Petition Claims Allowed Under 11 U.S.C. § 1305 (if none indicate)

Post-petition claims allowed under 11 U.S.C. § 1305 shall be paid as follows:
[X] None


Part       Other Provisions
10

10.1        Direct Payments: Payment will be made directly to the creditor by the debtor on the following claims:
                                                                                                     Monthly                  No. of
                                                                                                     payment                  months to
Creditor                                      Collateral, if any                                     amount                   payoff
Canvas Credit Union                           2016 Dodge Ram                                         976                      49
Sago Financial (claim 10)                     2020 Shasta Phoenix 5th wheel                          744                      59
Okinus (claim 1)                              Tires for 2016 Dodge Ram                               109.65                   26


10.2            Effective Date of Plan: The effective date of this Plan shall be the date of entry of the Order of Confirmation.

10.3            Order of Distribution:
           A.   [X] The amounts to be paid to the Class One creditors shall be paid in full, except that the chapter 13 trustee ’   s fee shall
                be paid up to, but not more than, the amount accrued on actual payments made to date. After payment of the Class
                One creditors, the amounts to be paid to cure the defaults of the Class Two A, Class Two B and Class Two C creditors
                shall be paid in full before distributions to creditors in Classes Three, Four, and Five (strike any portion of this sentence
                which is not applicable). The amounts to be paid to the Class Three creditors shall be paid in full before distributions to
                creditors in Classes Four and Five. Distributions under the plan to unsecured creditors will only be made to creditors
                whose claims are allowed and are timely filed pursuant to Fed. R. Bankr. P. 3002 and 3004 and after payments are
                made to Classes One, Two A, Two B, Two C and Three above in the manner specified in Parts 5, 6, 7, and 8.1..

10.4       Motions to Void Liens under 11 U.S.C. § 522(f): In accordance with Fed. R. Bankr. P. 4003(d), the debtor intends to file or
           has filed, by separate motion served in accordance with Fed. R. Bankr. P. 7004, a motion to void lien pursuant to 11 U.S.C.
           § 522(f) as to the secured creditors listed in Part 1.4 and below:

                                                                                                                           Date of order
                                                     Description of collateral (pursuant to L.B.R       Date motion to     granting motion
Creditor                                             4003-2)                                            avoid lien filed   or pending
None

10.5            Student Loans:



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               [X] No student loans

10.6           Restitution:
               [X] No restitution

10.7           Reinvestment of Property in debtor: All property of the estate shall vest in the debtor at the time of confirmation of
this Plan.

10.8      Insurance: Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and will be
          obtained and kept in force through the period of the Plan.
          Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.

Part      Presumptively Reasonable Fee
11

The following election is made:

[ ] Counsel elects the Presumptively Reasonable Fee pursuant to L.B.R. 2016-3(a). Any objection to the allowance of the
    Presumptively Reasonable Fee must be made by the objection deadline to confirmation.

OR

[X] Counsel elects to file the Long Form Fee Application pursuant to L.B.R. 2016-3(b).

Part      Nonstandard Plan Provisions
12

Under Bankruptcy Rule 3015.1(e), nonstandard provisions must be set forth below. A nonstandard provision is a provision not
otherwise included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

[X] Class attorney fees/expenses to be paid by Chapter 13 Trustee before any Class III adequate protection payments to
Capital One Auto Finance.


Part      Signature of Debtor’
                             s Attorney or Debtor (if unrepresented)
13

I certify that the wording and order of the provisions in this Chapter 13 Plan are identical to those contained in the Official Form
3015-1.1, and that the plan contains no nonstandard provisions other than those set out in Part 12.



Date August 14, 2022                                                     /s/ David M. Serafin
                                                                         Signature

                                                                         Bar Number (if applicable): 33686
                                                                         Mailing Address: Law Office of David Serafin
                                                                         501 S Cherry St Ste 1100
                                                                         Denver, CO 80246-1330
                                                                         Telephone Number:
                                                                         Facsimile number:
                                                                         E-mail address: david@davidserafinlaw.com


Part      Verification of Debtor
14

I declare under penalty of perjury that the foregoing is true and correct.

Dated: August 14, 2022                                                   /s/ Aaron R. Newman
                                                                         Signature of debtor 1




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                                                                               Mailing Address: 6700 US Highway 6
                                                                               Gypsum, CO 81637




1   The lesser of this amount or the amount specified in the Proof of Claim.
2   The lesser of this amount or the amount specified in the Proof of Claim.




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